                                   Case 2:23-cv-01909-JAM-DMC Document 19 Filed 12/09/24 Page 1 of 2


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                               5
                                 Attorneys for Defendant
                               6 HOME DEPOT U.S.A., INC.
                               7
                               8                            UNITED STATES DISTRICT COURT
                               9                          EASTERN DISTRICT OF CALIFORNIA
                              10
                              11 AMIE BRANNON, an Individual,                    Case No. 2:23-cv-01909-JAM-DMC
                              12                                  Plaintiff,     STIPULATION REGARDING THE
                                                                                 DEADLINE TO FILE DISPOSITIONAL
                              13 vs.                                             DOCUMENTS
                              14 HOME DEPOT U.S.A., INC., a                      Complaint filed: August 2, 2023
                                 Corporation; and DOES 1 to 50,                  Trial date: not set
                              15 Inclusive,
                              16                              Defendants.
                              17
                              18         Plaintiff, Amie Brannon, and Defendant, Home Depot U.S.A., Inc. have reached a
                              19 settlement in this matter and are reducing the settlement to a writing. The final release has
                              20 been delayed as the parties are verifying benefits received from Medi-Cal and any
                              21 outstanding liens. The parties anticipate that dispositional documents will be filed by
                              22 January 31, 2025 and respectfully request an extension from this Court for their filing.
                              23 DATED: December 6, 2024                       GOODMAN NEUMAN HAMILTON LLP
                              24
                              25
                                                                               By: /s/ Angelique Hernandez
                              26                                                  ZACHARY S. TOLSON
    Goodman Neuman                                                                ANGELIQUE HERNANDEZ
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                                        STIPULATION REGARDING THE DEADLINE TO FILE DISPOSITIONAL DOCUMENTS
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                               1 DATED: December 6, 2024              CARPENTER & ZUCKERMAN
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                               3
                                                                      By: /s/ Edward Cherkezian
                               4                                         EDWARD CHERKEZIAN
                                                                         STEVEN L. MAZZA
                               5                                         Attorneys for Plaintiff
                                                                         AMIE BRANNON
                               6
                               7 IT IS SO ORDERED.
                               8
                               9
                              10
                                    Dated: December 6, 2024     /s/ John A. Mendez
                              11
                                                                THE HONORABLE JOHN A. MENDEZ
                              12                                SENIOR UNITED STATES DISTRICT JUDGE
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